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 Charles M. Lizza                               Of Counsel:
 William C. Baton
 Sarah A. Sullivan                              Jeffrey J. Oelke
 Alexander L. Callo                             Ryan P. Johnson
 SAUL EWING LLP                                 Robert E. Counihan
 1037 Raymond Blvd., Suite 1520                 Laura T. Moran
 Newark, NJ 07102                               Erica R. Sutter
 (973) 286-6700                                 Olivia L. Wheeling
 clizza@saul.com                                FENWICK & WEST LLP
 wbaton@saul.com                                902 Broadway, Suite 18
 sarah.sullivan@saul.com                        New York, NY 10010-6035
 alexander.callo@saul.com                       (212) 430-2600
                                                joelke@fenwick.com
 Attorneys for Plaintiffs                       ryan.johnson@fenwick.com
 Novo Nordisk Inc. and                          rcounihan@fenwick.com
 Novo Nordisk A/S                               laura.moran@fenwick.com
                                                esutter@fenwick.com
                                                owheeling@fenwick.com


                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

NOVO NORDISK INC. and
NOVO NORDISK A/S,

                       Plaintiffs,

               v.                                 C.A. No. _______________

RIO BIOPHARMACEUTICALS, INC.,                     (Filed Electronically)

                       Defendant.



       PLAINTIFFS’ FEDERAL RULE OF CIVIL PROCEDURE 7.1 STATEMENT

       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Plaintiffs Novo Nordisk

Inc. and Novo Nordisk A/S state as follows:

       1.      Novo Nordisk Inc. is a non-governmental, privately held corporation wholly

owned by Novo Nordisk Commercial Holdings, Inc. Novo Nordisk Commercial Holdings, Inc.
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is wholly owned by Novo Nordisk US Holdings Inc. Novo Nordisk US Holdings Inc. is a

privately held corporation wholly owned by Novo Nordisk A/S.

       2.     Novo Nordisk A/S is a non-governmental, publicly traded Danish corporation.

Novo Nordisk A/S’s corporate parent is Novo Holdings A/S. Novo Holdings A/S is wholly

owned by Novo Nordisk Foundation, a privately held entity. No publicly held company owns

10% or more of the stock of Novo Nordisk A/S.

 Dated: January 19, 2024                            By: s/ Charles M. Lizza
                                                        Charles M. Lizza
 OF COUNSEL:                                            William C. Baton
                                                        Sarah A. Sullivan
 Jeffrey J. Oelke                                       Alexander L. Callo
 Ryan P. Johnson                                        SAUL EWING LLP
 Robert E. Counihan                                     1037 Raymond Blvd., Suite 1520
 Laura T. Moran                                         Newark, NJ 07102
 Erica R. Sutter                                        (973) 286-6700
 Olivia L. Wheeling                                     clizza@saul.com
 FENWICK & WEST LLP                                     wbaton@saul.com
 902 Broadway, Suite 18                                 sarah.sullivan@saul.com
 New York, NY 10010-6035                                alexander.callo@saul.com
 (212) 430-2600
 joelke@fenwick.com                                     Attorneys for Plaintiffs
 ryan.johnson@fenwick.com                               Novo Nordisk Inc. and Novo Nordisk A/S
 rcounihan@fenwick.com
 laura.moran@fenwick.com
 esutter@fenwick.com
 owheeling@fenwick.com




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